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                                                                                                   Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3   A1 On Track Sliding Door Repair and             )
     Installation, Inc., et al.,                     )            3:21-cv-03013
                                                         Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
              v.
                                                     )   PRO HAC VICE
 6                                                   )   (CIVIL LOCAL RULE 11-3)
     BrandRep, LLC,                                  )
 7
                                     Defendant(s).   )
                                                     )
 8
         I, Taylor True Smith                      , an active member in good standing of the bar of
 9    Colorado                      , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: Plaintiffs and the alleged Class             in the
      above-entitled action. My local co-counsel in this case is __________________________________,
                                                                 Rebecca Leah Davis                      an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    3900 E. Mexico Ave., Suite 300                      1939 Harrison Street, Suite 150
      Denver, CO 80210                                    Oakland, CA 94612
14
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (720) 907-7628                                      (510) 836-4200
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    tsmith@woodrowpeluso.com                            rebecca@lozeaudrury.com
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 51162        .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 05/05/21                                               Taylor True Smith
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Taylor True Smith                          is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
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   STATE OF COLORADO, ss:

           I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                          Taylor True Smith


has been duly licensed and admitted to practice as an


                        ATTORNEY AND COUNSELOR AT LAW

within this State; and that his /her name ap pears upon the Roll of Attorneys

 and Counselors at Law in my office of date the                     30th

day of     October                             A.D.      2017      and that at the date hereof

the said        Taylor True Smith               is in good standing a t this Bar.


                              IN WITNESS WHEREOF, I have hereunto subscribed my name and
                              affixed the Seal of said Supreme Court, at Denver, in said State, this

                               5th             day of           May                       A.D.   2021
